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                      EXHIBIT A
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Authority: 1949 PA 300, Sec 257.622                                                                     External X                       Crash ID                                               Page I
Compliance: Required        ?ASP 1.10-10E
Penally:5100 and/or 90 days(Rev 112006)                                                                 187580                                                                                  Incident * 61632114           File Class:93001
                                                                                                                                                                                                Incident Disposition
STATE OF MICHIGAN TRAFFIC CRASH REPORT                                                                                                                                                          Closed
ORI:                                                                   Department Name                                                                                                          Reviewer
M14106100                                                                                                    Michigan State Police Rockford                                                     Sergeant CHARLES BARTLEY (343)
Crash Date                        Crash Time      No. of Units       Crash Type                        Special Circumstances                                                       Special Cheeks
                                                                                                                                    ONone                   •Deer                    0 Fat I 0 Non.Tratfic Area 0 ORV/Snowmobile
08/0112014                        11 15                    01        Other, Unknown                          °School Bus            OHO and Run             °Fleeing Pofice
County                                 Traffic Control               Relation to Roadway                       Special Study             Weather                                  Area
41 - KENT                                None                        On Road                                     None                       Clear                                 06 - All other freeway areas
Cityftwsp                              Constniction Zone (if app +cable)                                                         Light                          Road Conffition                Total lanes        Speed Limit       Posted
                                                Type                     Lane Closed                   Actiety
13 - LOWELL TWP                                                                                                                  Daylight                       Dry                                  02                 70                Yes
z Prefix                   Road Name                                                            Road Type                                                                     SuMx                    Divided Roadway
O W                        1-96                                                                 FRY
   Distance (ft.)                                                                       Traffic Way                                                                                      Access Control
         0.6 Miles E                                                                    03 - Divided Hwy with barrier                                                                    02 - Full access control
Li
   Prefix                  Intersecting Road                                                    Road Type                                                                     Suffix                     Divided Roadway
0
                           M-50
   UnO Number Unit Known Slate             Driver License Number                      Dale of Birth(Age)                  License Type              Endorsements    Sex                Total Occupants Hazardous Action
                                                                                                                             •Operator                  °Cycle
                                                                                                                             °MopedOChauffer            °Faun
         01         Yes           MI                          6427                                                                                      °Recreation   M                      03            00 - Nono
   Unit Type        Driver Information                                                                               Injury         Position    Restraint Hospital
                    MICHAEL DALE KASHER
                    4814 S HENRY ST
       MV           NORTON SHORESUSKEGON Mi 49441                                  (231)733-2691                        0                01           04       None
   Driver Condition                                                                     Interlock      Ejected       Trapped        Airbag Deployed             Ambulance
       •1     02 03 04 05 06                    07       08     09     099                 No                                       No                          None
   Alcohol                                                                                  Test Results             D'Ais                                                    Test Results       Citation Issued
    °Yes         •No         °Refused     °Not Offered                                                                °Yes       •No                                                                   0Hazanlous               °Other
     Tost Type °Field        °PST          °Breath   °Blood                    OUrine                                  Test Type °Wood                 OUrine
   Vehicle Registration State   Insurance:Policy I                                                                Towed To/By ZS                                                           Special Vehicles Private Trailer Type Vehicle Defect
   059X270                  Mi           MICH MUNICIPAL LEAGUE/797920101                                          NONE                                                                     1
   VIN                                      Vehicle                     Make                              Model                                     Color                                 Year           Vehicle Typo
   1FAHP2MK6DG198172                        De'''
                                                61 wn                   FORD                             TAURUS                                     BLK                                   2013           Passenger Car, SUV, Van
   Location of                   First Impact            Extent of Damage Driveable                 Vehicle Direction     Vehicle Use                                                     Action Prior
   Greatest Damage
                         02               02                    03                 Yes                  W                 08 -Other Government Use                                       01 - Going Straight Ahead
   Sequence of Events                              First                                            Second                                             Third                                             Fourth

   (* indicates MOST harmful event)               •20 - Animal

   Passenger Information                                                                      Date of Binh (Ago)              Sex      Position Restraint       Hospital
   KYLE ANDREW NEHER                                                                                                            M          03         04        None
   4814 S HENRY ST                                                                            Injury       Airbag Deployed           Ejected        Trapped     Ambulance
   NORTON SHORES MI 49441                             (616)7334691                                  0      No                                                   None
   Passenger Information                                                                      Date of Birth(Age)              Sex      Posaion Restraint        Hospital
   ELAMIN MUHAMMAD                                                                                                              M          06         04        None
   6827 TERRA COTTA DR SE                                                                    Injury       Airbag Deploy d            Ejected        Trapped     Ambulance
to CALEDONIA Mi 49316
                                                                                                    0      Not equipped                                         None
ox
tu Passenger Information                                                                      Dare of Bath(Age)               Sex      Position Restraint Hasped
0
z                                                                                            Injury       Airbag Deployed            Ejected    Trapped         Ambulance
ur
N
0 Passenger Information                                                                       Date of8nh(Age)                 Sex      Position Restraint       Hospital
-C
o.
                                                                                             Injury       Airbag Deployed            Ejected    Trapped         Ambulance

   Passenger Information                                                                     Date of Birth(Age)               Sex      Position Restraint       Hospital


                                                                                             Injury       Airbag Deployed            Ejected    Trapped         Ambulance
                                                                                                                                                                                                                                                   0
                                                                                                                                                                                                                                                   ar
   Passenger Information                                                                     Dale of 0 rth (Age)              Sex      Position Restraint       Hospital                                                                           0
                                                                                                                                                                                                                                                   -..
                                                                                                                                                                                                                                                   N
                                                                                             Injury       Airbag Deployed            Ejected    Trapped         Ambulance                                                                          3.
                                                                                                                                                                                                                                                   44
   Carrier Information                                                                                                        Carrie Source          GVWR                  ICCMC                 USDOT                     MPSC
                                                                                                                                                                                                                                                   en
                                                                                                                                                                                                                                                   .-i.
                                                                                                                                                                                                                                                   en
                                                                                            Endorsements                      Drivers COL TYPO                                     CDL Exempt                                                      c
                                                                                                                                                                                                          CDL Restrictions                         ,
                                                                                                                                                                                                                                                   13
                                                                                             OH OP OT                                                                                 °Farm                                                        w
                                                                                                                                                                                                             028 029 030 035 036
   Interstate/Intrastate     Vehicle Type                Type Ind Axle Par UnitCargoBody Typo
                                                                                             ON OS OX                                                                                 °Other                                                       4
                                                                                                  Medical Card                                                                            Hazardous Material              ID II          Class I
                                                                             Third Fourth
                                                                                                                                                                                            °Placard        OCargo Spit

7NORTON SHORES PD
•
   Owner Information                                                                                                          Owner information

if, 4814 S HENRY ST
V NORTON SHORES Mi 49441                              (231)733.2691
Person Advised of Damaged Traffic Control                                                                               D maned Property                                                                                                 Public
 Contact Name
 Contact Date:
                                                                                                                        Owner and Puerto
 Contact Time:
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        Unit Number   Linn )(norm   Stets    Driver License Nimeset               Date of(34111(Age)                License Typo               Endorsements    Sex          Total Occupants Hazardous Action
                                                                                                                       °Operator                   ()Cycle
-.1                                                                                                                     OChauffer                  °Farm
                                                                                                                       °Moped                      OReCreation
        Link Type     Driver Information                                                                       Injury      Poslrion        Restraint Hospital




,--' Driver Condition                                                                Interlock     Ejected     Trapped     Airbag Deployed              Ambulance
' 01 02 03 04 05 06 07 00 09 01/9
ii
 • Alcohol                                                                               Test R sups            Dares                                                Teo Results      Citation Issued
         Yes          No       Refused     Not Offered                                                             Yes             No                                                         Hazardous                Other
       Test Type      Maid     PBT          Breath     Blood                 Urine                                Tea Type         Blood        Urine
     Vehicle Reglaralkin State  Insurance/Paley*                                                              Towed TorBy*                                                      Special Vehicles Private Trailer Type Vehicle Doled


        VIN                                   Vehicle                 Make                            Model                                 Color                              Year           Vehicle Type
                                              Description
  1
        Localism of                 First Impact        Eaten!°Mamma Driveable                   Vehicle Direerion   Vehicle Use                                               Acrion Prior
        Greatest Damage

   -. Sequence of Events                            First                                        Second                                       Third                                           Fourth

        (li Indicatee MOST harmful event)

        Passenger Information                                                              Dale of Birth (Age)         Sex    Position Restraint        Hospital


                                                                                           injury       Airbag Deployed      Ejected       Trapped      Ambulance


        Passenger Information                                                              Date of Birth(Age)          Sex     Position Restraint       110501BI


                                                                                           Injury       Airbag Deploy d       peeled       Trapped      AmbulanCe
'3
1....
        Passenger Information                                                              Date of Binh(Age)           Sex     Position Restraint       Hospael
 Ul
 O
Z                                                                                          Injury       Airbag Deployed       Ejected      Trapped      Ambulance
 mu
N
,..i Passenger Information                                                                 Dale of Beth(Age)           Sex     Position Restraint       Hospital

o.
                                                                                           Injury       Airbag Deployed       Sleeted      Trapped      Ambulance


        Passenger Information                                                              Delo of Birth(Age)          Sex     Position Restraint       Hospital


                                                                                           Injury       Airbag Deployed       Ejected      Trapped      Ambulance


        Passenger Information                                                              Date of Bath(Age)           Sex     Position Restraint       Hospital


                                                                                           Injury       Airbag Deployed      'Ejected       Trapped     Ambulance


        Carrier Information                                                                                           Carrie Source          GWcR                  ICCMC              USDOT                    MPSC


                                                                                                                      Drives CDL Type      Endorsements                    COL Exempt       CDL Restrictions
  i                                                                                                                                         OH OP OT                          Orm
                                                                                                                                            ON OS OX                          00tFaher        020 029 030 035 0343
        inlerstatenntrastale    Vehicle Type            TypefrAnd Axle Pe;
                                                                         tolgtm                                              Cargo Body Type     Medical Card                   Hazardous Material        IDS Class X
                                                                                       Third              Fourth
                                                                                                                                                                                 °Placard        °Cargo Soli

        Owner Information                                                                                             Owner information




 4, Witness Information                                                                                               Witness Information




 investigated   Reported Date (Time)                    151 Investigator Name(Badge)                                  2nd Investigator Name (Badge)                                     Photo By
 at Scene.
            yen 08/01/2014(11:16)                       Trooper KURT EHRKE(1632)
 Narrative                                                                                                             Diagram
   #1 was WB and hit deer.

                                                                                                                                                                                                                      DT




                                                                                                                                                                                                               • '3
                                                                                                                                                                                                             1'04



                                                                                                                                                            1-96 WB




 External #: 187580
 Incident #: 81632114
